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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
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				Go to Today january, 2017
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				23jan10:00 am- 4:00 pmOral Arguments
							Event DetailsMonday, January 23, 2017
10:00 AM


	S17A0177 Gaddy et al. v. Georgia Department of Revenue et al.
	S17X0178 Georgia Department of Revenue et al. v. Raymond Gaddy et al.
	S17A0196 Lathrop et al. [...]
							
							
									Event Details
									Monday, January 23, 2017
10:00 AM

S17A0177 Gaddy et al. v. Georgia Department of Revenue et al.
S17X0178 Georgia Department of Revenue et al. v. Raymond Gaddy et al.
S17A0196 Lathrop et al. v. Deal, Governor et al.

2:00 PM

S16G1703 Schumaker et al. v. City of Roswell



								
							
						
						
							
							
								
									
																
										Time(Monday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

							Recent News &amp; Reports		
					
				1/6/17 – NEW CHIEF JUSTICE SWORN IN TODAY.
						
					
				1/4/17 – NEW CHIEF JUSTICE TO BE SWORN IN BY GOVERNOR
						
					
				12/7/16 – Gov. Nathan Deal swore in three new justices to the Supreme Court of Georgia.
						
				
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